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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


DARRELL M. MCKELVIE,                         :
                                             :
                      Petitioner             :
               v.                            :      CIVIL ACTION NUMBER 00-3409
                                             :
SUPERINTENDENT MARY                          :
LEFTRIDGE-BYRD, et al.,                      :
                                             :
                      Respondents            :


             STATEMENT REGARDING STATUS OF RULE 60(B) MOTION


       Petitioner, Darrell McKelvie, through undersigned counsel, hereby submits this statement

regarding the Rule 60(b) motion filed in the above-captioned matter.

       In this matter, Mr. McKelvie seeks relief from the Court’s 2001 judgment dismissing the

petition for writ of habeas corpus that he filed in 2000 in connection with his 1975 first-degree

murder conviction and sentence of life imprisonment — an offense for which he vehemently

maintains his innocence. Nonetheless, after consulting with counsel, Mr. McKelvie recognizes

that this Rule 60(b) motion is not the appropriate vehicle for challenging his conviction. Mr.

McKelvie’s original habeas petition was denied on the merits in 1985, and his 2000 habeas petition

was a second or successive petition filed without leave of the Third Circuit Court of Appeals, as

required by 28 U.S.C. § 2244(b). Accordingly, as appropriate, Mr. McKelvie will file a motion

with the Court of Appeals seeking leave to litigate a successive habeas corpus petition. At this

time, this matter can be dismissed.
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                                   Respectfully submitted,


                                   /s/ Claudia B. Flores
                                   CLAUDIA B. FLORES
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                                   Counsel for Petitioner Darrell N. McKelvie

Date: January 2, 2020
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                                 CERTIFICATE OF SERVICE


        I hereby certify that I caused a copy of the foregoing to be filed and served electronically

through this Court’s Electronic Case Filing System upon Banafsheh Amirzadeh, Esq.




                                                      /s/ Claudia B. Flores
                                                      CLAUDIA B. FLORES


DATE:          January 2, 2020
